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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE MDL No. 1456
LITIGATION Master File No.: 01-CV-12257-PBS

Subcategory Case No.: 07-12141-PBS

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

State of Iowa v.
Abbott Laboratories Inc., et al.

[PROPOSED] ORDER OF DISMISSAL OF CERTAIN DEFENDANTS

The Motion for Dismissal is hereby GRANTED. All claims in this action against Abbott
Laboratories Inc., Abbott Laboratories, Amgen Inc., Baxter Healthcare Corporation, Baxter
International Inc., Ben Venue Laboratories, Inc., Boehringer Ingelheim Roxane, Inc., Boehringer
Ingelheim Corporation, Boehringer Ingelheim Pharmaceuticals Inc., Immunex Corporation, and
Roxane Laboratories, Inc. are dismissed with prejudice and without costs to any party.

SO ORDERED

DATED: , 2009

Judge Patti B. Saris

CHI-1721672v1
